Case 7:20-OBROF RS TOBNTY JAR AINTARET ORM Page 1 of

Date: “2/2 / LG Case #: D7G/YOD OETF AGENCY, [SY

PERSONAL INFORMATION

Name AVILC Lad Richa tel We [Cog Race: laf Sex:/q4_
Last - First . ~ Middle

pop: // 24/1/42 7neight: 5“7_ weight: / 5” Haire Eyes:/¢ POB:

SNN? 55 36 SE IF DL #: State: Phone #: ( VV CL:

Address: 1b 7S zZ id ertes church IZA tity: Ope. State{9,4- Zip 8 1G 29

ARREST INFORMATION

Arrest Date: /2 { /_/ J Arrest Time: _/ ¢ / [~

Arresting Officer Name: S52 4+, (Sass Badge #7, Lf Agency: K CSB

Place of Arrest: Vehicle Towed By:

Charge: QS Warrant/Citation #:

Charge: YG ofafidr OF Bead COnd; Liga Warrant/Citation #:

Charge: '  /7-6- F 7 Warrant/Citation #:
Charge: Warrant/Citation #:
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Charge: Warrant/Citation #:
Charge: Woarrant/Citation #:
Victim to be notified? Yes _ No If Yes, Victim's Name: Phone #: ( }
Warrants tobetaken?_ ss Yes ss No If Yes, Agency held for: Officer's Signature:
Restrictions: No Phone Calls isolation Separation Other Why?/Whe?
PERSONAL INFORMATION
Employer/Occupation: Skills:
Scars/Marks/Tattoos:
Aliases /Nicknames:
Education (Years): Martial Status: Married Single Divorced
EMERGENCY CONTACT
Name: Address: Phone #:( ) -
Name: Address: Phone #: ( ) -
INMATE MONEY

Receiving Officer: Badge#:
Amount of Money Taken: Receipt#:

Inmate signature Officer signature

INTAKE INFORMATION
Warrants check: Date: / / Time: By:
RELEASE INFORMATION

Warrants check: Date: / / Time: By:
Release check amount: Check#:

| ACKNOWLEDGE THAT | HAVE RECEIVED ALL FUNDS AND PROPERTY DUE TO ME BY THE BROOKS “Tt SHERIFF'S OFFIC
‘ ay
INMATE SIGNATURE OFFICER SIGNATURE

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Case 7:20-Cv-00244-WLS Document 59-3 ~—— Filed 02/06/24

BROOKS COUNTY SHERIFE’S OFFICE
_ Mike Dewey, Sheriff.
P.O. Box 487

Office Phone
(229) 263-7558

Page 2 of 9

Cownty Jail Phone
(229) 263-8153

Quitman, Georgia 31043

Captain: John-Ulm. Jail Administrator
. . Fax: (229) 263-8624

(229) 263-8153

Brooks County Jail Hold Form

Attention: 6 CJ d Yarh

Inmate Name: Kk 1 ha rdi _ Oe (Lo Aa le law

Inmate Date Of Birth: /[- QA 1G 37

Inmate Charges: _1/ polation ot Conk Condado 1-6-4 2

ros og
DL Penson
ZL y L ~

Date Hold Requested: ~/7 ~2) C-19
Time Hold Requested: 1S IS
Officer Requesting Hold:___S ¢_ Lsall

Date Hold Released: “7- 27 <1 7

Time Hold Released: /(O/

__... Officer Unit Number: ELL S
Acknowledge.of Receipt
Officer Signature: Date:

Please Sign and Fax Back as Acknowledgement

Htto:www.brookssheriff.com

Case 7:20-cv-00244-WLS, Document 59-3 Filed 02/06/24 Page 3 of 9
IN TB. SUPERIOR COURT OF BROOKS CUUNTY

STATE OF GEORGIA i

STATE OF GEORGIA, WARRANT NOS.: CR-17-158-207
CR-17-211
Vv.

Charges: Cruelty to Animals, et. al
RICHARD J. MCLEOD, GEORGIA BROOKS COUNTY J

Filed in office on

Defendant. ‘
BLANKET BOND ORDER MAR 2 1 2017
The parties having stipulated and agreed, an S. St
P sep e oe fhe Court/Stare Court/
IT IS HEREBY ORDERED that the Defendant be released on bond in the sea aerse
$25,000.00.
FURTHER ORDERED:

(a) That the Defendant shall appear before this Court at a date and time certain to
answer said charges;

(b) That the Defendant will not violate any criminal laws of any governmental unit;

(c) That the Defendant not contact, directly or indirectly, any of the State's witnesses,
except by and through his attorney of record in said case, or have any contact with animals to

nelude own, possess or otherwise care for, or contact any pet shelter, hnmane society, rescue or

other facility associated with animals.

(d) Ifthe Defendant resides in, travels to or is present in another state, he will agree to
waive extradition from any such jurisdiction where he may be found and not contest any effort

by said jurisdiction to return her to the State of Georgia;

(e) The defendant will communicate any and all address changes with her attomey:

AND FURTHER ORDERED, in the event said Defendant fails to comply with any one of the
aforesaid conditions, the Court may, in its discretion, revoke said bond and provision for bail and
order the arrest and ‘detention of said Defendant until such time as the aforesaid case and charge(s)

are disposed of and final judgment entered thereon.

Judge’s Initials ( Page One (1) of Two (2) Pages
Case 7:20-cv-00244-WLS Document 59-3 Filed 02/06/24 Page 4 of 9

State of Georgia vs. RICHARD MCLEOD
Warrant Nos.: CR-17-158 through 17-207;
CR-17-211

C7
SO, ORDERED, this the AA/ day of March, 2017.

CO

JUDGE, SUPERIOR COURTS
UTHERN JUDICIAL CIRCUIT
CONSENTED TO FORM BY:
foc Sererrry Savor Wow Cr Hughen

Assistant District Attdmey Clair Hughes
Southern Judicial Circuit State Bar No. 430340

Assistant Public Defender
Wty 2x PleSs pesMniss Va" Southern Judicial Circuit
PREPARED BY:
Clair Hughes

Assistant Public Defender
State Bar No: 784090

106 South Patterson Street
Second Floor -- Suite 201
Post Office Box 1586
Valdosta, GA 31603-1586
Telephone:(229) 671-2800
Facsimile: (229) 245-5220

Page Two (2) of Two (2) Pages
Case 7:20-CV-A0)244-\VI ror RTH COURT OF Bud GRA 205/24 Page 5 of 9

STATE OF GEORGIA
STATE OF GEORGIA Warrant : CR17-0158
VS:
JERRY MCLEOD CHARGE: AGGRAVATED CRUELTY TO ANIMALS

BAIL REPORT OF MAGISTRATE COURT
A first appearance hearing was held on the 24TH day of FEBRUARY, 2017, and the Court denied the
Defendant’s bond for the following reason(s):

r 1. The accused poses a significant risk of fleeing from the jurisdiction of the Court failing to appear when

required. ,
w 2. The accused poses a significant threat or danger to a person, or to the community, or to a property in the

community.

3. The accused poses a significant risk of committing a felony pending trial.
ry 4, The accused poses a significant risk of intimidating witnesses and/or victims, otherwise obstructing the

administration of justice.
rv 5. Pursuant to 0.C.G.A. section 17-6-1, notice is given that the offense charged is not bondable by a Judge of

the Magistrate Court.
r 6. The accused has an extensive criminal history.
w 7. Other: ACCUSED IS CURRENTLY ON BOND FOR SAME FELONY CHARGE.

x
This the 24TH day of FEBRUARY, 2017. FQ #
Magistrate Judge, Brooks Coby
DISTRICT ATTORNEY REPORT
rca r
The District Attorney Consents to Opposes the foregoing recommendation.
This the "day of ,201__.
Assistant District Attorney

DER ON BAIL

ORDER ON BAIL
The foregoing report and recommendations of the Magistrate of Brooks County having been read and
considered,

r The Court hereby accepts the finding of the Magistrate. Bail for the aforesaid defendant is

hereby DENIED.
rT The Court hereby declines to adopt the findings of the Magistrate.

SO ORDERED, this day of ,201___.

JUDGE, SUPERIOR COURT
Case 7:20- cv-0244- Wert Rare bebUR TOR BRIGRS C0014 Page 6 of 9

STATE OF GEORGIA
STATE OF GEORGIA Warrant : CR17-0211
VS:

JERRY MCLEOD CHARGE: AGGRAVATED CRUELTY TO ANIMALS

BAIL REPORT OF MAGISTRATE COURT
A first appearance hearing was held on the 24TH day of FEBRUARY, 2017, and the Court denied the
Defendant's bond for the following reason(s):

r 1. The accused poses a significant risk of fleeing from the jurisdiction of the Court failing to appear when

required.
2. The accused poses a significant threat or danger to a person, or to the community, or to a property in the

community.

3. The accused poses a significant risk of committing a felony pending trial.
r 4. The accused poses a significant risk of intimidating witnesses and/or victims, otherwise obstructing the

administration of justice.
rT 5. Pursuant to 0.C.G.A. section 17-6-1, notice is given that the offense charged is not bondable by a Judge of

the Magistrate Court.
r 6. The accused has an extensive criminal history.
¥ 7. Other: ACCUSED IS CURRENTLY ON BOND FOR SAME FELONY CHARGE.

This the 24TH day of FEBRUARY, 2017. Tr © (
Magistrate Judge, Brooks County
DISTRICT ATTORNEY REPORT
{
waa t rr .
The District Attorney Consents to Opposes the foregoing recommendation.
This the day of , 201
Assistant District Attorney

DER.ON BAIL

ORDER ON BAIL
The foregoing report and recommendations of the Magistrate of Brooks County having been read and
considered,

r The Court hereby accepts the finding of the Magistrate. Bail for the aforesaid defendant is
hereby DENIED.

rT The Court hereby declines to adopt the findings of the Magistrate.

SO ORDERED, this day of ,201_

JUDGE, SUPERIOR COURT
Case 7:20-cv-00244-WLS Document 59-3

IN THE MAGISTRAT

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THE STATE OF GEORGIA
. Vs. )
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administra

DENIED the Defendant's bond

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tion of justice.

Pursuant to O.C.G.A. section 17-6-1, notice is g

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6. The ace
7. Other:

Court.
used has an extensive criminal histor

On bond on cf&hin

So ordered this AG dayof

, 2022.

DISTRICT |

BAIL REPORT OF MAGISTRATE COURT

charger ye aumale, viking »

Filed 02/06/24 Page 7 of:
i COURT OF BROOKS COUNTY
E OF GEORGIA

Warrant # ZA- SOs MUI

G dayof Waxy » ZO2 2—- and

for the following re4son(s):

dating witnesses and/or victims, otherwise obstructing the
riven that the offense charged is not bondable by a Judge ofthe

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be

J sadge, Magistrate Court of Brooks
County

ATTORNEY REPORT

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danger to a person, or to the community, or to a property in thecommunity.
mnfiting felony pending trial.

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day of

| Consents to Opposes the foregoing

recommendation

» 20

District Attorney

The for

ORDE
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been rend and considered,

The Court
The Court
SO ORD!

hereby accepts the finding of the Magistrate. Bail for the aforesaid defendant is hereby DENIED.
hereby declines to adopt the findings|of the Magistrate."
ERED, this day of 20

R ON BAIL
ions of the Magistrate of Brooks County having

JUDGE, SUPERIOR COURT

STATE OF GEORGIA

VS. OL _
Ruchark Jt

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Case 7:20-cWddHa Wiha! RABDERMBA SOO BRE? U206/24 Page 8 of 9

22- $03 MW

DATE: 5-2 8-202 ~-23- 2022
rime: 16 7Ogm

FIRST APPEARENCE CONDITIONS OF BOND

The above case havithg come before me at a first appearance hearing; It is hereby ORDERED that said defendant be permitted to

make bond under th

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b following conditions: (Only the conditions initialed by the Judge apply.)

Phan het Grom hd
at bond in the amount of $_ 2OCE CO be allowed. (CASH PROPERTY/BONDSMAN }

hat the defendant shall stay away, absolutely, directly or indirectly, by person, telephone, messenger, or any

s includes, but is not limited to, the victim’s home, school, and place of business/employment or routes of
vel to or from those locations. The Defendant shall stay away from the above locations regardless of whether
victim is present at such locations. Violations connected with contacting/following the victim may subject
Defendant to a separate prosecution for the felony offense of Aggravated Stalking.

e Defendant shall have NO VIOLENT contact with
Lve no contact or communication of any kind or character with any members of the victim's household or

nily, or with any witnesses in this case.

bt follow, place under surveillance or contact the victim or any members of the victim’s household or family, or
y witnesses in this case for the purpose of harassing or intimidating any such person, or otherwise violate

C.G.A. Section 16-5-90 et. seq., which prohibits “stalking.”

efendant shall within hours of release from the Brooks County Jail, turn over all firearms to the BCSO. In
sdbiition, the Defendant shall not own, possess or be in the presence of any firearms of any kind.

bfendant shall not consume, ingest or otherwise be in possession of any alcoholic beverage. In addition, the
fendant shall attend substance abuse counseling a minimum of days per week, The accused has one .
ak from the date of release to arrange said counseling and notify the criminal clerk of this Court, in writing, of
d arrangement. The Clerk can be contacted at the Brooks County Magistrate Court, 315 E Screven St., Quitman,
31643, or by telephone at (229)263-9989.

pon release, law enforcement shall escort Defendant to the residence to retrieve his/her personal items only.
he Court grants this bond after a finding pursuant to OCGA 17-10-1(a)(3)(B) that the Defendant is serving a term
probation but he/she does not constitute a threat to the community and is therefore entitled to bond in the

aforementioned case.

10.

DTHER SPECIAL CONDITIONS: Defemlont AAM tot Reve ary brn then. 2

WARRANT NUMBER 22 -S3Il mw ~ 22-3 6/ Mu

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SO ORDERED THIS

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S-29- Zo

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(plage sch

, 20.22.

JUDGE

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U

e of the above condition(s) of bond and realize that upon Z of the condition(s} my bond may be revoked,
ea legal right to a second bond after revocation.

22.

Date

Def;

7

OL AA
witness

Case 7:20-cv-00244-WLS Document 59-3 Filed 02/06/24 Page9of9

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